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1    HILARY POTASHNER (Bar No. 167060)
     Federal Public Defender
2    CRAIG A. HARBAUGH (Bar No. 194309)
     (E-Mail: Craig_Harbaugh@fd.org)                              April 8, 2019
3    Deputy Federal Public Defender
     321 East 2nd Street                                               VPC
4    Los Angeles, California 90012-4202
     Telephone: (213) 894-4740
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6    Attorneys for Defendant
     DANIEL FLINT
7
                               UNITED STATES DISTRICT COURT
8
                           CENTRAL DISTRICT OF CALIFORNIA
9
                                     WESTERN DIVISION
10
11
     UNITED STATES OF AMERICA,                        Case No. CR 17-697-SJO
12
                  Plaintiff,                          ORDER RELIEVING FEDERAL
13                                                    PUBLIC DEFENDER AND
           v.                                         APPOINTING CJA COUNSEL
14
     DANIEL FLINT,
15
                  Defendant.
16
17         GOOD CAUSE HAVING BEEN SHOWN, IT IS HEREBY ORDERED THAT
18   the Office of the Federal Public Defender is relieved as counsel of record for defendant,
19   Daniel Flint. IT IS FURTHER ORDERED THAT substitute counsel from the indigent
20   defense panel (CJA), Gregory Nicolaysen, 27240 Turnberry Lane, Suite 200, Valencia,
21   CA 91355, gregnicolaysen@aol.com, 818-970-7247, is appointed to represent Mr. Flint
22   for all further proceedings.
23
24   DATED: April 8, 2019
25                                          HONORABLE S. JAMES OTERO
                                            United States District Judge
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